Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 1 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 2 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 3 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 4 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 5 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 6 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 7 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 8 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 9 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 10 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 11 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 12 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 13 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 14 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 15 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 16 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 17 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 18 of 19
Case 1:98-cv-02231-ASG Document 93 Entered on FLSD Docket 02/17/1999 Page 19 of 19
